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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION


 STEPHON W. SUGGS,

                Plaintiff,                                 CIVIL ACTION NO.: 6:21-cv-4

        v.

 BRAIN P. KEMP, et al.,

                Defendants.


                                           ORDER

       The Court has conducted an independent and de novo review of the entire record and

concurs with the Magistrate Judge’s Report and Recommendation, (doc. 20). Plaintiff filed

Objections to this Report and Recommendation. (Doc. 21.) The Magistrate Judge recommended

that the Court dismiss without prejudice Plaintiff’s cause of action. The Magistrate Judge’s finding

was based on Plaintiff’s failure to follow the Court’s August 17, 2021 Order to file an amended

complaint, (doc. 17), and failure to prosecute. Plaintiff stated he sent a response to the Court’s

Order on August 20, 2021, (doc. 21, p. 1), and the Court gave him an opportunity to refile his

Amended Complaint according to the original instructions in the first Order. (Doc. 23.)

       While Plaintiff did resend his Amended Complaint, the Amended Complaint does not

comply with the Court’s directives. Plaintiff’s complaint and attachments consisted of 69 pages,

(doc. 25), far exceeding the allowed ten additional pages for written allegations and attachments.

(Doc. 17, p. 3.) The filing contains a litany of incomprehensible documents labelled as affidavits,

motions, or petitions. Plaintiff disregarded the Court’s instructions when he included several pages

of legal arguments, (doc. 25, pp. 23–34), including various irrelevant references to admiralty
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jurisdiction, international banking, the law of contracts, and the Uniform Commercial Code,

among other things. Plaintiff was warned by this Court that the failure to follow its instructions

would result in a dismissal, (doc. 17, p. 4), but Plaintiff did not heed those warnings. The

Magistrate Judge correctly recommended dismissal of Plaintiff’s claims due to Plaintiff’s failure

to follow a Court order and failure to prosecute. See, e.g., Duong Thanh Ho v. Costello, 757 F.

App’x 912, 915 (11th Cir. 2018) (affirming dismissal of pro se plaintiff’s complaint for the

plaintiff’s failure to follow the court’s instructions regarding amendment of complaint).

       Accordingly, the Court OVERRULES Plaintiff’s Objections and ADOPTS the Magistrate

Judge’s Report and Recommendation as the opinion of the Court. The Court DENIES all pending

motions as moot, DISMISSES without prejudice Plaintiff’s Complaint, DIRECTS the Clerk of

Court to CLOSE this case and enter the appropriate judgment of dismissal, and DENIES Plaintiff

in forma pauperis status on appeal.

       SO ORDERED, this 15th day of November, 2021.




                                      R. STAN BAKER
                                      UNITED STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
